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                              IN THE UNITED STATES DISTRICT
                             COURT FOR THE EASTERN DISTRICT
                               OF TEXAS MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC

                Plaintiff,

                v.                                         Civil Action No. 2:23-cv-00419-JRG-
                                                           RSP
VALVE CORPORATION, GEARBOX
SOFTWARE, L.L.C.
                                                           Jury Trial Requested
                Defendants.




                                 DOCKET CONTROL ORDER

           Deadline           Item
     May 19, 2025             *Jury Selection - 9:00 a.m. in Marshall, Texas

    7 days before             *Defendant to disclose final invalidity theories, final prior art
    Jury Selection            references/combinations, and final equitable defenses.1

    10 days before            *Plaintiff to disclose final election of Asserted Claims.2
    Jury Selection

     April 21, 2025           * If a juror questionnaire is to be used, an editable (in Microsoft
                              Word format) questionnaire shall be jointly submitted to the
                              Deputy Clerk in Charge by this date.3

    April 14, 2025            *Pretrial Conference - 9:00 a.m. in Marshall, Texas before
                              Judge Rodney Gilstrap


1
 The proposed DCO shall include this specific deadline. The deadline shall read, "7 days
before Jury Selection," and shall not include a specific date.
2
  Given the Court's past experiences with litigants dropping claims and defenses during or on
the eve of trial, the Court is of the opinion that these additional deadlines are necessary. The
proposed DCO shall include this specific deadline. The deadline shall read, "10 days before
Jury Selection," and shall not include a specific date.
3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
in Advance of Voir Dire.
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    April 7, 2025            *Notify Court of Agreements Reached During Meet and Confer

                             The parties are ordered to meet and confer on any outstanding
                             objections or motions in limine. The parties shall advise the Court of
                             any agreements reached no later than 1:00 p.m. three (3) business
                             days before the pretrial conference.

    April 7, 2025           *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                            Proposed Verdict Form, Responses to Motions in Limine, Updated
                            Exhibit Lists, Updated Witness Lists, and Updated Deposition
                            Designations

    March 31, 2025          *File Notice of Request for Daily Transcript or Real Time Reporting.

                            If a daily transcript or real time reporting of court proceedings is
                            requested for trial, the party or parties making said request shall file
                            a notice with the Court and e-mail the Court Reporter, Shawn
                            McRoberts, at shawn_mcroberts@txed.uscourts.gov.


    March 24, 2025          File Motions in Limine

                            The parties shall limit their motions in limine to issues that if
                            improperly introduced at trial would be so prejudicial that the Court
                            could not alleviate the prejudice by giving appropriate instructions to
                            the jury.

    March 24, 2025          Serve Objections to Rebuttal Pretrial Disclosures

    March 17, 2025          Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                            Disclosures

    March 3, 2025           Serve Pretrial Disclosures (Witness List, Deposition Designations,
                            and Exhibit List) by the Party with the Burden of Proof

    February 24, 2025       *Response to Dispositive Motions (including Daubert Motions).
                            Responses to dispositive motions that were filed prior to the
                            dispositive motion deadline, including Daubert Motions, shall be due
                            in accordance with Local Rule CV-7(e), not to exceed the deadline
                            as set forth in this Docket Control Order.4 Motions for Summary
                            Judgment shall comply with Local Rule CV-56.


4
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party's failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.

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February 10, 2025   *File Motions to Strike Expert Testimony (including
                    Daubert
                    Motions)

                    No motion to strike expert testimony (including a Daubert
                    motion) may be filed after this date without leave of the Court.
February 10, 2025   *File Dispositive Motions

                    No dispositive motion may be filed after this date without leave
                    of the Court.

                    Motions shall comply with Local Rule CV-56 and Local Rule CV-
                    7. Motions to extend page limits will only be granted in
                    exceptional circumstances. Exceptional circumstances require
                    more than agreement among the parties.
February 3, 2025    Deadline to Complete Expert Discovery

January 21, 2025    Serve Disclosures for Rebuttal Expert Witnesses

December 30, 2024   Deadline to Complete Fact Discovery and File Motions to
                    Compel Discovery

December 30, 2024   Serve Disclosures for Expert Witnesses by the Party with the
                    Burden of Proof

December 5, 2024    Comply with P.R. 3-7 (Opinion of Counsel Defenses)

November 14, 2024   *Claim Construction Hearing- 9:00 a.m. in Marshall, Texas
                    before Judge Rodney Gilstrap

October 31, 2024    *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

October 24, 2024    *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

October 17, 2024    Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

October 3, 2024     Comply with P.R. 4-5(a) (Opening Claim Construction Brief)
                    and Submit Technical Tutorials (if any)

                    Good cause must be shown to submit technical tutorials after
                    the deadline to comply with P.R. 4-5(a).




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    October 3, 2024          Deadline to Substantially Complete Document Production and
                             Exchange Privilege Logs

                            Counsel are expected to make good faith efforts to produce all
                            required documents as soon as they are available and not wait
                            until the substantial completion deadline.
    September 19, 2024      Comply with P.R. 4-4 (Deadline to Complete Claim
                            Construction Discovery)

    September 12, 2024      File Response to Amended Pleadings

    August 29, 2024         *File Amended Pleadings

                            It is not necessary to seek leave of Court to amend pleadings prior
                            to this deadline unless the amendment seeks to assert additional
                            patents.
    August 22, 2024         Comply with P.R. 4-3 (Joint Claim Construction Statement)

    August 1, 2024          Comply with P.R. 4-2 (Exchange Preliminary Claim
                            Constructions)
    July 11, 2024           Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

    January 16, 2024        Comply with Standing Order Regarding Subject-Matter
                            Eligibility Contentions5

    January 16, 2024        Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

    January 5, 2024         *File Proposed Protective Order and Comply with Paragraphs 1
                            & 3 of the Discovery Order (Initial and Additional Disclosures)

                            The Proposed Protective Order shall be filed as a separate
                            motion with the caption indicating whether or not the proposed
                            order is opposed in any part.
    December 18, 2023       *File Proposed Docket Control Order and Proposed Discovery
                            Order

                            The Proposed Docket Control Order and Proposed Discovery
                            Order shall be filed as separate motions with the caption
                            indicating whether or not the proposed order is opposed in any
                            part.
    December 11, 2023       Join Additional Parties

5
 http://www. txed. uscourts. gov/ sites/ default/files/judgeF iles/EDTX%2 0 Standing%20Order%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf [https://perma.cc/RQN2-YU5P]

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 November 20, 2023             Comply with P.R. 3-1 & 3-2 (Infringement Contentions)


(*) indicates a deadline that cannot be changed without showing good cause.
Good cause is not shown merely by indicating that the parties agree that the
deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

         Lead Counsel: The Parties are directed to Local Rule CV-11(a), which provides that “[o]n
the first appearance through counsel, each party shall designate a lead attorney on the pleadings or
otherwise.” Additionally, once designated, a party’s lead attorney may only be changed by the
filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court an Order
granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

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      .
(c)       The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

          So ORDERED and SIGNED this 20th day of December, 2023.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




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